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Case 4:18-cr-01256-CKJ-JR Document 22

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First Assistant United States Attorney
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BEVERLY K. ANDERSON
Assistant U.S. Attorney

Arizona State Bar No. 010547

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CLERK US DISTRICT COURT
“DISTRICT OF ARIZONA.

United States Courthouse

405 W. Congress Street, Suite 4800

Tucson, Arizona 85701 CRI 8 _ 12 5 ETUC HD

Telephone: 520-620-7300 |
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Attorneys for Plain
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA
United States of America,
Plaintiff,

INDICTMENT

Violations:

18 U.S.C. §§ 722()(1) and 924(a)(2)
(Possession of a Firearm

Joshua Joel Pratchard, by Convicted Felon)
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Defendant. 18 U.S.C §§ 922(a)(5) and 924(a)(1
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esident)
Counts 2, 4

- 18 U.S.C. § 924(d); 28 U.S.C. § 2461(c)
(Forfeiture Allegation)

vs.

 

 

 

THE GRAND JURY CHARGES:
\ COUNT 1

On or about April 14, 2018, at or near Tucson, in the District of Arizona, the
defendant, JOSHUA JOEL PRATCHARD, having been previously convicted of crimes
punishable by imprisonment for a term exceeding one year, did knowingly possess a
firearm; that is, a 9mm firearm, serial number SD071082, with additional markings “SD
Tactical, Pacific Beach, CA, AR-9”; said firearm being in and affecting commerce in that
it was previously transported into the State of Arizona from another state or foreign

country;
In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

 
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COUNT 2
On or about April 14, 2018, at or near Tucson, in the District of Arizona, the
defendant, JOSHUA JOEL PRATCHARD, not being a licensed importer, manufacturer,
dealer, and collector of firearms, within the meaning of Chapter 44, Title 18 United States
Code, did willfully sell a firearm, that is, a 9mm firearm, serial number SD071082, with
additional markings “SD Tactical, Pacific Beach, CA, AR-9”; to another person, said
person not being a licensed importer, manufacturer, dealer, and collector of firearms,
within the meaning of Chapter 44, Title 18, United States Code, and knowing and with
reasonable cause to believe that said person was not then residing in the State in which the
defendant was residing at the time of the aforesaid sale of the firearm.
In violation of Title 18, United States Code, Sections 922(a)(5) and 924(a)(1)(D).
COUNT 3
On or about May 30, 2018, at or near Tucson, in the District of Arizona, the
defendant, JOSHUA JOEL PRATCHARD, having been previously convicted of crimes
punishable by imprisonment for a term exceeding one year, did knowingly possess a
firearm and ammunition, that is, one .300 caliber rifle with no serial number and; 7.62 x
35mm ammunition; said firearm and ammunition being in and affecting commerce in that
they were previously transported into the State of Arizona from another state or foreign
country.
In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).
COUNT 4
On or about May 30, 2018, at or near Tucson, in the District of Arizona, the
defendant, JOSHUA JOEL PRATCHARD, not being a licensed importer, manufacturer,
dealer, and collector of firearms, within the meaning of Chapter 44, Title 18 United States

‘Code, did willfully sell a firearm, that is, a .300 caliber rifle with no serial number, to

another person, said person not being a licensed importer, manufacturer, dealer, and
collector of firearms, within the meaning of Chapter 44, Title 18, United States Code, and

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United States of America v. Joshua Joel Pratchard
Indictment Page 2 of 5

 
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knowing and with reasonable cause to believe that said person was not then residing in the
State in which the defendant was residing at the time of the aforesaid sale of the firearm.
In violation of Title 18, United States Code, Sections 922(a)(5) and 924(a)(1)(D).
COUNT 5 —

On or about June 1, 2018, at or near Tucson, in the District of Arizona, defendant,
JOSHUA JOEL PRATCHARD, having been previously convicted of crimes punishable
by imprisonment for a term exceeding one year, did knowingly possess firearms and
ammunition, that is: one .45 caliber handgun, serial number SD012916, with additional
markings “SD Tactical Pacific Beach, CA, 1911 Al”; one .300 caliber AR style rifle with
no serial number, with additional markings “300 Blackout”; one .223 caliber AR style rifle
with no serial number; .45 caliber ammunition; 7.62 x 35mm ammunition; and .223 caliber
ammunition; said firearms and ammunition being in and affecting commerce in that they
were previously transported into the State of Arizona from another state or foreign country;

In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

COUNT 6

Between on or about May 30, 2018, to June 1, 2018, at or near Tucson, in the District
of Arizona, defendant, JOSHUA JOEL PRATCHARD, having been previously convicted
of crimes punishable by imprisonment for a term exceeding one year, did knowingly
possess a firearm and ammunition, that is: one .45 caliber handgun, serial number
SD990809, with additional markings “SD Tactical Pacific Beach, CA 1911 Ultra 45”;
.223/5.56 mm ammunition; 7.62 x 35mm ammunition; and .45 caliber ammunition; said
firearm and ammunition being in and affecting ecommerce in that they were previously
transported into the State of Arizona from another state or foreign country;

In violation of Title 18, United States Code, Sections 922(g)(1) and 924(a)(2).

FORFEITURE ALLEGATION

Upon conviction of Counts One through Six of the Indictment, the Defendant,

JOSHUA JOEL PRATCHARD, shall forfeit to the United States pursuant to Title 18,

United States Code, Section 924(d), and Title 28, United States Code, Section 2461(c), any

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firearms and ammunition involved in the commission of the offense. The firearms and
ammunition to be forfeited include, but are not limited to: one 9mm firearm, serial number
SD071082, with additional markings “SD Tactical, Pacific Beach, CA, AR-9”; one .300
caliber -rifle with no serial number; approximately 400 rounds of 7.62 x 35 mm

| ammunition; one .45 caliber handgun, serial number SD012916, with additional markings

“SD Tactical Pacific Beach, CA, 1911 A1”; one .300 caliber AR style rifle with no serial
number, with additional markings “300 Blackout”; one .223 caliber AR style rifle, no serial
number; approximately 51 rounds of .45 caliber ammunition; approximately 119 rounds of
.7.62 x 35 mm ammunition; approximately 120 rounds of .223 caliber ammunition; one .45
caliber handgun, serial number $D990809, with additional markings “SD Tactical Pacific
Beach, CA 1911 Ultra 45”; approximately 106 rounds of .223/5.56 mm ammunition;
approximately two rounds of 7.62 x 35 mm ammunition; and seven rounds of .45 caliber
ammunition rounds.

If any of the property described above, as a result of any act or omission of the
defendant: a) cannot be located upon the exercise of due diligence; b) has been transferred
or sold to, or deposited with, a third party; c) has been placed beyond the jurisdiction of
the court; d) has been substantially diminished in value; or e) has been commingled with
other property which cannot be divided without difficulty, it is the intent of the United
States, pursuant to Title 21, United States Code, Section 853(p), as incorporated by Title
28, United States Code, Section 2461(c), to seek forfeiture of any other property of said
defendant up to the value of the above forfeitable property, including, but not limited to,
all property, both real and personal, owned by the defendant.

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All pursuant to Title 18, United States Code, Section 924(d), Title 28, United States
Code, Section 2461(c), and Rule 32.2(a), Federal Rules of Criminal Procedure.

 

A TRUE BILL
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Presiding Juror
ELIZABETH A. STRANGE
First Assistant United States Attorney
District of Arizona

/s/

Beverly K. Anderson,
Assistant U.S. Attorney
Dated: June 27,2018 © | REDACTED ror

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